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711 West Laurel Street
San Antonio, Texas 78212
(210) 362-2439

je VIA Metropolitan Transit Authority
- Police Department

June 9, 2022
Le: Chief Mark Witherell
From: Officer Stephen Baker
Ref: Annual Use of Force Analysis
Chief Witherell,

As the Best Practices Accreditation Program Manager, I am tasked with completing an
annual use of force analysis. Today, with the assistance of Officer Jordan Simmons, I
have completed the 2021 Use of Force Analysis. We reviewed all use of force reports
submitted by Transit Police Officers and Transit Security Officers from January 1, 2021
thru December 31, 2021.

In 2021, there were 109 incidences of uses of force. (in 2020 there was 107 uses of force)

There were 27 incidences where physical force was used by officers.
There were 30 incidences where officers displayed or aimed their Tasers.
There were 40 incidences where officers deployed their Tasers.

e There were 11 incidences where officers displayed or aimed their firearms.
e There was | incidence where an officer deployed their firearm.

Each of the above listed uses of force were investigated by the appropriate supervisor and
there was no findings of improper use of force or excessive force.

VIA Metropolitan Transit
P.O. Box 12489 | 800 West Myrtle | San Antonio, Texas 78212 | P 210.362.2000

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jw VIA Metropolitan Transit Authority
> Police Department

There are a few locations that had multiple uses of force.

Centro Plaza — 15 uses of force — (in 2020 there was 55 uses of force)
Crossroads Park and Ride — 3 uses of force — (in 2020 there was 12 uses of force)
Medical Park and Ride — 2 uses of force

New Braunfels Ave and Center St. — 2 uses of force (in 2020 there was 6 uses of
force)

e San Pedro Ave. from IEH35 to Cypress street — 10 uses of force. (in 2020 there
were 12 uses of force)

I have attached a spread sheet showing the Shift / Date / Time / Location and Type of
Force used of all incidences of use of force.

The VIA Metro Transit Police Department had no substantiated complaints of excessive
force in 2021.

Respectfully submitted,

LG P—

Officer Stephen Baker Received and approved by:

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Chief Mark Witherell

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2021 USE OF FORCE ANALYSIS

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Date

Time

Location

Physical
Force

Taser
Display

Taser
Deploy

Firearm
Display

Firearm
Deploy

10/19

0756

VMC

X

05/24

0925

Plaza

xX

06/21

1317

2200 Fredericksburg

04/18

0800

Crossroads

06/14

0813

Plaza

08/31

1206

1000 N. San Pedro

09/10

1030

Ingram

09/11

0830

5 points

>< | D< |< | O< | OS | OX

06/26

0830

Martin / Cibolo

06/02

1313

Plaza

05/15

0745

900 Main

03/24

2135

New Braunfels / Center

OL/12

1809

7536 San Pedro

01/21

1930

San Pedro / Oblate

01/22

1618

Crossroads

02/08

1934

7145 W. Rock

04/11

1552

Plaza

03/26

1756

Plaza

04/16

1657

Marbach / Westedge

05/20

1720

100 N. Gevers

07/07

1800

Plaza

07/07

1800

Plaza

07/07

1750

800 W. Houston

08/27

1928

7538 San Pedro

09/04

1920

Hildebrand / San Pedro

09/04

1915

Hildebrand / San Pedro

10/26

1523

700 Navarro

>< | >< | >< | DX | O< | OK | OK | OK | OK | OK | OK | OK | OK | OS | OS | OX

04/20

1551

San Pedro / Olmos

02/26

2004

Harry Wurzbach / Eisenhaur

03/30

1614

Jackson / Marshall

04/11

2159

Plaza

05/20

1720

100 N. Gevers

06/14

2021

Plaza

07/03

1720

Frio / Ruiz

08/05

1515

2100 IH 35.N

07/29

2116

7538 San Pedro

08/07

1818

Medical

08/15

1731

Plaza

08/13

1728

Plaza

09/07

1546

5700 Industrial Park

10/16

1830

5620 Culebra

alalwlinlinialalolalalalal/Dl ala DDI DDD BD DIBA H DDD OS S| PSPS S| Flr P|>
=

11/11

1905

500 Ruiz

>< | >< | o< | OX | OX | OS | OK | BK | OK | OK | OK | OS | OS | OS | OS

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Date | Time | Location Physical | Taser Taser | Firearm | Firearm
Force Display | Deploy | Display | Deploy

11/12 | 2053 | McCreless X

11/10 | 1136 | 1600 N. Zarzamora xX

12/28 | 1620 | 700 W. Commerce x

06/14 | 2024 | Plaza xX

08/07 | 1838 | Medical X

12/18 | 2108 | 2400 Renwick

03/05 | 1843 | 35/Laredo

05/22 | 1954 | 600 N. Frio

06/25 | 1533 | SW Transfer Point

07/07 | 2104 | 10700 Wurzbach

07/09 | 1834 | 6400 Vance Jackson

07/24 | 1701 | Potranco / Mabe

08/13 | 2146 | Plaza

09/07 | 1546 | 5700 Industrial Park

09/26 | 2145 | St. Mary’s / Nueva

09/26 | 2145 | St. Mary’s / Nueva

10/08 | 1449 | Police Department

>< | >< |< | BS | O< | OS | OS | OS | OK | OS | OS | OS | OS

11/06 | 2124 | Zarzamora / Ruiz

04/20 | 1553 | San Pedro / Olmos X

08/17 | 0040 | Plaza

07/19 | 2222 | Rivas / Poplar

05/08 | 0325 | 200 N. Comal

05/08 | 0241 | VMC

05/08 | 0325 | 200 N. Comal

03/29 | 2230 | Plaza

02/19 | 1030 | Frio / Martin

02/05 | 2050 | Crossroads

01/29 | 1941 | Randolph

>< | >< | O< | O< | O< | O< | OK | O< | OS | OX

01/29 | 0108 | New Braunfels / Center

11/15 | 2337 | 300 San Pedro

10/25 | 0314 | 3900 Fredericksburg

09/26 | 0045 | 600 Ruiz

10/04 | 0145 | 3700 Fredericksburg

09/17 | 2350 | 300 San Pedro

09/14 | 0100 | 300 San Pedro

08/24 | 0243 | 10000 Silicon

08/21 | 0551 | 2600 Buena Vista

07/23 | 0257 | Hwy 90/ Military

05/13 | 0013 | 500 W. Myrtle

02/24 | 0345 | Travis / Soledad

02/24 | 0345 | Travis / Soledad

01/30 | 2021 | Zarzamora/ Martin

01/29 | 2230 | Northstar

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=

>< | >< | >< | >< | >< | | OX | OS | OK | OK | BX | | OS | OX | OS

01/25 | 2246 | San Pedro / Hwy 35

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Shift | Date | Time | Location Physical | Taser Taser | Firearm | Firearm
Force Display | Deploy | Display | Deploy

01/25 | 2245 | San Pedro / Hwy 35 X

12/13 | 0120 | 410 Fair Ave

09/17 | 2250 | Graham Central Sta.

07/01 | 0043 | San Pedro / Euclid

07/01 | 0045 | San Pedro / Euclid

07/01 | 0120 | 310 San Pedro

05/08 | 0241 | VMC

02/14 | 0210 | 800 Euclid

><) O< | OS | OK | OS | OK | OK |

02/14 | 0212 | 800 Euclid

12/20 | 0300 | Cypress / Maverick

12/20 | 0305 | Poplar / Cypress

10/22 | 0105 | Admin Bldg.

10/01 | 0250 | Fredericksburg / Culebra

09/30 | 0316 | 900 Main

09/15 | 0325 | Main / Euclid

09/05 | 0301 | 1600 Roosevelt

08/30 | 2350 | 800 Main

06/29 | 2337 | Main / Quincy

06/29 | 2333 | Main/ Elmira

06/30 | 2330 | 900 Main

03/27 | 0451 | Kel-Lac

01/30 | 1615 | Salinas / Zarzamora

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>< | >< | De | Ok | OK | OK | OC | OS | OK] OK | OK | OK | OK | OX

01/25 | 2245 | San Pedro / Elmira

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Physical Force
Taser Display
Taser Deployed
Firearm Display
Firearm Deployed
A-Shift Total

Physical Force
Taser Display
Taser Deployed
Firearm Display
Firearm Deployed
B-Shift Total

Physical Force
Taser Display
Taser Deployed
Firearm Display
Firearm Deployed
C-Shift Total

A Shift

B Shift
16

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All Shifts

Physical Force 27
Taser Display 30
Taser Deployed 40
Firearm Display 11
Firearm Deployed 1

Total Use of Force 109
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Use of Force by Type |
A-Shift

= Physical Force = Taser Display a Taser Deployed |

Firearm Display = Firearm Deployed

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Use of Force by Type
B-Shift

4% “2%

a Physical Force = Taser Display a Taser Deployed

Firearm Display = Firearm Deployed

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Use of Force by Type
C-Shift

17%

= Physical Force = Taser Display u Taser Deployed

Firearm Display = Firearm Deployed
